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~ ORIGINAL

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UNITED STATES DISTRICT COURT.

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CV-S-05-0848-RCJ-LRL

 

  

 

ST. MATTHEW'S UNIVERSITY
(CAYMAN) LTD., a Cayman Islands
company,

Plaintiff,
COMPLAINT

VS.

ASSOCIATION OF AMERICAN
INTERNATIONAL MEDICAL
GRADUATES, INC., a Nevada
corporation; THOMAS MOORE, M.D.
a.k.a. “presaaimg@hotmail.com,” an :
individual; SARAH B. WEINSTEIN a.k.a. | DEMAND FOR JURY TRIAL
“execsecaaimg@hotmail.com,” an
individual; and RACHAEL E. SILVER,
|
|

an individual,

Defendants.

SEALED

 

 

Plaintiff ST. MATTHEW'S UNIVERSITY (CAYMAN) LTD., CORP. (°ST.

MATTHEW ’s’), through its attorneys, alleges as follows:

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JURISDICTION AND VENUE
1. This is an action for damages and injunctive relief, arising under the Lanham Act,
15 U.S.C. § 1051 ef seg., Nevada state law, and federal and state common law.
2. Subject matter jurisdiction is conferred upon this Court by 15 U.S.C. § 1121, under
28 U.S.C. 1338(a) and (b), and under 28 U.S.C. § 1331. Supplemental jurisdiction over
claims arising under the law of the State of Nevada is conferred upon this Court under 28
U.S.C. § 1367.
3. Diversity jurisdiction is conferred upon this Court by 15 U.S.C. § 1332, in that
Plaintiff is a foreign company formed under the laws of the Cayman Islands, British West
Indies, having its principal place of business in Grand Cayman, and that corporate
Defendant is organized under the laws of the State of Nevada, having its stated principal
place of business and its registered agent for service in the State of Nevada; and
individual Defendants have represented their addresses as being within the State of
Nevada. The amount in controversy exceeds $75,000, exclusive of interest and costs.
4. This Court has personal jurisdiction over Defendant ASSOCIATION OF
AMERICAN INTERNATIONAL MEDICAL GRADUATES, INC. (“AAIMG”), as Defendant
AAIMG is a Nevada domestic corporation, with its stated place of business within the
State of Nevada, and its resident agent for service of process located in the State of

Nevada. A true and correct copy of the corporate information on AAIMG held by the

- Nevada Secretary of State is attached hereto as “Exhibit A.”

5. This Court has personal jurisdiction over Defendants THOMAS MOORE, M.D.

a.k.a. “presaaimg@hotmail.com’; SARAH B. WEINSTEIN a.k.a.
“execsecaaimg@hotmail.com”: and RACHAEL E. SILVER; each of them being officers of
Defendant AAIMG, and their associated email accounts, and each of them stating their
address as being within the State of Nevada. (See Ex. A.)

6. Venue is proper in the District of Nevada pursuant to 28 U.S.C. § 1391(b) and (c),
and LR IA 6-1, in that all of the Defendants are subject to personal jurisdiction in this

District at the time the action is commenced, there is no district in which the action may

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otherwise be brought, and as Defendants’ acts giving rise to this action occurred in
Nevada, in Clark County.
SUMMARY

7. This case is about one or more individuals, the Defendants, who created a
fictitious, purportedly impartial and nonprofit, organization claiming to provide medical
school reviews for prospective medical school students. Defendants shielded their
ident ties to evade liability and to mask their true affiliations, including the use of false
ident ties, non-operational contact information, and fraudulent incorporation. Thereafter,
Defendants began a campaign to systematically, through a pattern of false statements,
defame and disparage Plaintiff medical school, with the intent to harm the Plaintiff
economically. Plaintiff has suffered great damages as a result of the Defendant's fraud,
including diminished student enrollment, interference with accreditation proceedings, and
denials of residency placements for ST. MATTHEW’s hard-working medical graduates.
Peeling back the layers of fraud and defamation, the actions of the Defendants appear to
be even more nefarious and subversive, in that the Defendants, on information and belief,
are competitors of Plaintiff or, alternatively, “shake-down’ artists seeking to extort money
or to take “pay-offs” in exchange for positive reviews.

THE PARTIES
8. Plaintiff ST. MATTHEW'S UNIVERSITY (CAYMAN) LTD. (“ST. MATTHEW’s”) is a
company formed under the laws of the Cayman Islands, British West Indies, with its
princ pal campus and business in Safe Haven, Leeward Three, Grand Cayman, Cayman
Islands, British West Indies. True and correct copy of a Certificate of Good Standing
issued by the Registrar of Companies, Cayman Islands, is attached hereto as Exhibit B.
g. On information and belief, Defendant ASSOCIATION OF AMERICAN
INTERNATIONAL MEDICAL GRADUATES, INC. (“AAIMG") is a Nevada domestic
corporation. AAIMG states its address as that of its registered agent of service, VAL-U-

CORP Services, Inc. (“VAL-U-CORP’”): 1802 N Carson St., Suite 212-2161, Carson City,

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Nevada, 89701. A true and correct copy of the Articles of Incorporation and related
documents for AAIMG are attached hereto as Exhibit A.

10. On information and belief, Defendant THOMAS MOORE, M.D., is an individual,
“presaaimg@hotmail.com” is his associated email address. Defendant MOORE is
purported to be the President of Defendant AAIMG, and has been listed with the same
address as that of VAL-U-CORP, “1802 N Carson St. #212, Carson City, Nevada,
89701.” (See Ex. A.)

11. | Oninformation and belief, Defendant SARAH B. WEINSTEIN is an individual,
“execsecaaimg@hotmail.com” is her associated email address. Defendant WEINSTEIN
is purported to be the Secretary of Defendant AAIMG, with the same address as that of
VAL-U-CORP, “1802 N Carson St. #212, Carson City, Nevada, 89701.” (See Ex. A.)

12. On information and belief, Defendant RACHAEL E. SILVER is an individual, listed
as the Treasurer of Defendant AAIMG, giving her address as that of VAL-U-CORP, “1802
N Carson St. #212, Carson City, Nevada, 89701.” (See Ex. A.)

13. | Whenever in this Complaint reference is made to any act of any individual
defendant, that allegation shall be deemed to mean that said defendant committed,
conspired to commit, authorized, aided, abetted, furnished the means to, advised or
encouraged the acts alleged as a principal, under express or implied agency, or with
actual or ostensible authority to perform the acts so alleged.

14. Whenever in this complaint reference is made to any act of Defendant AAIMG, that
allegation shall be deemed to mean that AAIMG, its officers, directors, agents, employees
or representatives, committed, conspired to commit, authorized, aided, abetted, furnished
the means to, advised or encouraged the acts alleged, while actively engaged in the
management, direction or control of the affairs of AAIMG.

15. | Whenever reference is made in this complaint to any act of any defendants, that
allegation shall be deemed to mean the act of each defendant acting individually and

jointly.

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16. | This Complaint shall be amended in due course upon the identification of
additional defendants individuals upon discovery to allege their connection with the acts

giving rise to this case.

17. | Oninformation and belief, Defendant AAIMG is wholly owned and controlled by an
individual Defendant to be identified, that this individual Defendant is the sole stockholder,
officer, and director of Defendant corporation AAIMG, and Defendant corporation AAIMG
is so controlled by said individual Defendant that the monies of Defendant corporation
and of the individual Defendant are intermingled; that there is a unity of ownership and
interest between them; that the credit of one is used for the credit of the other; that the
obligations of the individual Defendant are paid by the Defendant corporation; that the
corporation was incorporated and capitalized for a sum of money insufficient to meet
reasonable requirements of Defendant corporation; that as a result of the foregoing,
Defendant corporation is the instrumentality, conduit, adjunct and alter ego of the
individual Defendant, and the individual Defendant has managed and controlled said

corporation to avoid personal liability. Unless the fiction of the separateness of the

"individual from said corporation and from each other is ignored, injustice will result and

| fraud will be sanctioned, all to the irreparable damage and injury of the Plaintiff. Unless

judgment in this action includes said individual Defendant and the corporate Defendant,

Plaintiff will be unable to recover and enforce the claims and rights hereinafter referred to.

BACKGROUND
PLAINTIFF ST. MATTHEW’S UNIVERSITY SCHOOL OF MEDICINE

18. ST. MATTHEW’s University School of Medicine (“ST. MATTHEW's’) is a privately
owned medical school, with a basic science campus located in the Cayman Islands,

British West Indies.

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19. Originally founded in 1996, and chartered in 1997 in Belize, Central America, ST.
MATTHEW’s moved its operations to its present location at Safe Haven, Leeward Three,
Grand Cayman, in May of 2002.

20. Fully chartered by the Government of Grand Cayman, British West Indies, ST.
MATTHEW’'s enjoys the reputation of a respected and well-apportioned institution in the
Caritbean area and the world at large. ST. MATTHEW 's is recognized in 48 of the 50
United States' - including Nevada — and in most foreign countries. ST. MATTHEW’s

has been afforded the following accreditations or recognitions, amongst others:

- The United States Department of Education's National Committee on Foreign
Medical Education and Accreditation (NCFMEA) recognizes the accreditation of

ST. MATTHEW 's University.

Accreditation by the Accreditation Commission on Colleges of Medicine
(ACCM). The United States Department of Education recognizes the ACCM as
using accrediting standards comparable to the accrediting body for medical

schools in the United States.

» The World Health Organization lists ST. MATTHEW ’s University in its most

recent publication of the directory of medical schools.

The FAIMER International Medical Education Directory (IMED) of the
Educational Commission for Foreign Medical Graduates (ECFMG) lists ST.

MATTHEW 's in its listing of approved medical schools.

ST. MATTHEW’s is approved by the State of New York for all clinical rotations,
residencies and licensing, noteworthy because the State of New York has one

of the most rigorous accreditation processes for international medical schools.

 

‘Kansas requires a 15-year term of existence before allowing accreditation of foreign
medical school; ST. MATTHEW’s accreditation application with California is still in the
process of appellate review.

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Licensed by the Commission on Independent Education of the State of Florida

to allow third and fourth year students to complete their hospital rotations.

21. ST. MATTHEW ’s presently has a faculty of over 250 physicians and a staff of more
than fifty. With a student body of over 900 medical students, it graduates more than 140
each year, and 98% of those who hold their ECFMG certificate continue on to accredited
residency programs in the U.S. and around the world.
22. With world-wide accreditation and clinical sites in the United States, England and
Canada, ST. MATTHEW ’s University has attracted students from a variety of different
nationalities creating a healthy make-up of students from Europe, particularly the United
Kingdom and Western Europe.
23. ST. MATTHEW’s boasts a state-of-the-art campus, with high-speed wireless
Internet connectivity, excellent anatomy, histology, microbiology and clinical skills labs,
alonc with beautiful classrooms, spacious study areas and student lounges. ST.
MATTHEW’s has invested over US $50 million into developing and expanding its
operations, and has enjoyed an increase in reputation as a result.
24. St. Matthews’ Clinical Science programs are conducted in teaching hospitals
throughout the United States, Canada and England, and ST. MATTHEW ’s graduates
have been very successful in obtaining excellent residency positions in some of the finest
and most rewarding accredited residency training hospitals in the United States, United
Kingdom and Canada.

“AAIMG.COM”
25.  Inor about the year 2002, ST. MATTHEW’s became aware of the publication of
false and defamatory statements regarding ST. MATTHEW ’s on a website operating
unde’ the domain name “aaimg.com.” A true and complete copy of the content of this
website as of April 21, 2005 is attached hereto as Exhibit C.
26. Oninformation and belief, Defendant AAIMG purports to be a neutral and objective

organization that reviews international medical schools. Since its launch, the AAIMG.com

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website has attracted tens of thousands of Internet visitors, and it currently ranks high in
multiple search engines, including achieving a Google PageRank of five throughout most
of its site.”

27. | Many educational institutions and organizations unwittingly link to AAIMG,
including, among others, the National Association of Advisors for the Health Professions
(NAAHP), Cornell, Harvard, CalPoly, SUNY Stony Brook, and Seton Hall University.”
Over the past few years, AAIMG, despite its fraudulent operations as detailed below, has
become an information resource for those who are not able to take the time to verify the
legitimacy of this organization.

28. Of primary significance is the linking to aaimg.com by the NAAHP. This
organization is extremely influential as a provider of professional and academic
inforrnation and resources for the medical field, and a primary source of information for
anyone seeking information on medical institutions and specifically for qualified
candidates seeking a medical education. The NAAHP links to the AAIMG website that
contain the false and defamatory statements about ST. MATTHEW 's hugely impact ST.
MATTHEW’s reputation in the medical and academic community at large.

29. The false and defamatory statements made on the aaimg.com website about
Plaintiff were made in the context of the published results of a purported on-site review by
AAING of Plaintiff ST. MATTHEW’s campus.

30. Prior to the discovery of the false and defamatory statements, ST. MATTHEW’s
had never known of Defendant AAIMG or any representative thereof including the named
Defendants, had never been in contact or corresponded with them in any way, and had

neve’ participated or in any other way been aware of any review of its campus or

 

* PaceRank is a ranking label attached to web pages by the search engine Google.
Google analyzes links to a particular page, and the quality of the websites linking to suh
page, to determine "PageRank." PageRank is combined with Google's text-matching
techniques in creating overall ranking within the search engine related to particular key

words. See http://;www.google.com/technology/.
3 See the attached Exhibit D for a list of current links to AAIMG.COM, which does not
include sites that have formerly linked to AAIMG.COM since 1999.

8 COMPLAINT

 
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programs conducted by Defendant AAIMG.
31. ST.MATTHEW’s categorically and insistently denies Defendant AAIMG's
allegations concerning ST. MATTHEW's facilities and programs, and refutes that any on-
site review or inspection as claimed by AAIMG was ever conducted. In fact, on
information and belief, it is impossible that an organization such as AAIMG would have
the ability to conduct such a site review as claimed. The false statements are itemized
and individually rebutted below.
32. OnMarch 17, 2004, ST. MATTHEW’s, through its attorney, contacted Defendant
AAING (by Defendant MOORE) by certified mail, to inform AAIMG of ST. MATTHEW’s
position regarding AAIMG’s false statements, and ST. MATTHEW’s demanded that the
statements be retracted. A true and correct copy of the demand letter to Defendant
AAING, containing the rebuttal and demands for retractions and corrections, is attached
hereto as Exhibit E, and incorporated herein by reference.
33. ST. MATTHEW’s received absolutely no response to its correction and retraction
demands.

DEFENDANT AAIMG
34. ST. MATTHEW's thereupon began an investigation into AAIMG and its claims, in
an attempt to discover the ways and means such false statements were being made and
for what purpose.
35. The twelve-page website operated at “aaimg.com” is apparently the only
operational function of Defendant AAIMG. (See Ex. C.)
36. On its website, AAIMG claims to be a non-profit organization, founded in 1992,
with the stated purpose “to promote acceptance of United States citizen [sic] international
medical graduates into mainstream American medical practice.” (See Ex. C, pg. 2.)
37. AAIMG identifies as its President one “Thomas Moore, M.D.,” and, as Its “M.D.
Executive Secretary,” one “Sarah B. Weinstein.” (See Ex. C, pg. 43; see also Ex. A.)
38. AAIMG states its address as 1802 N Carson St. #212, Carson City, Nevada,
89701. No telephone numbers are provided. (See Ex. C, pg. 43; see also Ex. A.)

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39. | The only contact information listed on the site are two Hotmail email addresses,
that happen to be free email addresses that do not require any identifying information to
acquire such email addresses. (See Ex. C, pg. 43.)
40. ST. MATTHEW’s investigations, still ongoing, have revealed a disturbing pattern of
fraud and elaborate attempts to mask the true identities of those operating AAIMG. In
May of 2004, the Nevada Attorney General conducted an investigation of AAIMG, which,
confirming many of the suspicions of Plaintiff, found that AAIMG does not conduct
business at the address it alleges and that all operations of AAIMG appear to be in
Russia.

AAIMG’s Fraudulent Organization
41. Defendant AAIMG is, in truth and fact, a for-profit corporation formed under the
laws of the State of Nevada in 1999, contrary to its false assertions otherwise. (See Ex.
A; Ex. C, pg. 2.)
42. The operating address provided on the AAIMG’s website (see Ex. C, pg. 43) is not
an operating business address, but rather a general corporate resident agent service

company: VAL-U-CORP Services, Inc., 1802 N Carson St., Carson City, Nevada, 89701.

_ This company is also the listed agent for service of process on AAIMG's incorporation

documents.

43. There is only one address listed for all three officers of AAIMG: 1802 N Carson St.

| #212, Carson City, Nevada, 89701, which, again, is that of VAL-U-CORP, AAIMG’s

 

registered agent for service of process. (See Ex. A.)

44. There is no telephone number provided on the AAIMG website or anywhere else;
neither is there any telephone listing for AAIMG tn Nevada or anywhere else in the United
States.

45. | AAIMG'’s incorporation documents list no stated capital and no value per share,
despite purported operations that would require hundreds of thousands of dollars in

expenditures. (See Ex. A.)

10 COMPLAINT

 

 
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AAIMG’s Fictitious Individuals
46. ST. MATTHEW ’s extensive internal and independent investigations have revealed,
and ST. MATTHEW’s so alleges on information and belief, that the persons alleged to be
officers of Defendant AAIMG are fictitious persons, falsified identities used to shield the
actual perpetrators from legal and professional liability, while these individuals conduct
their fraudulent activities for financial gain.
47. AAIMG's records list only three officers: Defendant THOMAS MOORE, M.D.
(President), Defendant SARAH WEINSTEIN (Secretary), and Defendant RACHAEL
SILVER (Treasurer). No actual address has been listed for any of these AAIMG officers
in its incorporation documents. The only address provided for each officer is that of VAL-
U-CORP, AAIMG’s resident agent for service of process. (See Ex. A.)
48. Defendant THOMAS MOORE, M_D., is identified as president ST. MATTHEW’s
investigations have shown there is no Thomas Moore, M.D., licensed or living in the
states of Nevada; no Thomas Moore, M.D., owns or has owned property in Nevada;
there is no credit record for any Thomas Moore, M.D., now or at any time in Nevada.
49. There are only 28 Thomas Moore, M.D.’s listed with the American Medical

Association, which indexes ALL licensed medical doctors in the United States. None of

 

them is a graduate of an international medical school. Of those 28, nine have photos
available on the internet, and none match the purported photograph of “Thomas Moore,
M.D.’ on the AAIMG website (see Ex. C, pg. 42.) Of the 19 remaining, none have any
stated affiliation with AAIMG.

50. Defendant “SARAH B. WEINSTEIN’ is identified as secretary. (See Ex. A.) The
only address given for Defendant WEINSTEIN is that of AAIMG’s registered agent for
service of process, VAL-U-CORP, at 1802 N Carson St. #212, Carson City, Nevada,
89701.

51. Plaintiff ST. MATTHEW’s national search has revealed there is no SARAH B.
WEINSTEIN living in the state of Nevada: no SARAH B. WEINSTEIN owns or has owned

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property in Nevada: there is no credit record for any SARAH B. WEINSTEIN, now or at

any time, in Nevada.

 

52. Defendant “RACHAEL E. SILVER’ is identified as treasurer. (See Ex. A.) The only
address given for Defendant SILVER is that of AAIMG’s registered agent for service of
process, VAL-U-CORP, at 1802 N Carson St. #212, Carson City, Nevada, 89701. ST.
MATTHEW ’s investigations have shown there is no RACHAEL SILVER living in the state
of Nevada: no RACHAEL SILVER owns or has owned property in Nevada; there is no
credit record for any RACHAEL SILVER, now or at any time, in Nevada.

AAIMG’s Fraudulent Administration
53. All operations and administration of AAIMG are conducted toward the objective of
shielding the identities of those responsible, and are designed to every extent possible to
preclude the discovery of any further information regarding those individuals.
54. As stated above, the address for operations given on the AAIMG website is not a
business address, but rather a general corporate resident agent service office operating
out of single suite in Carson City, Nevada.

55. The only contact information contained on the website is as follows:

“Thomas Moore M.D.
e-mail: presaaimq@hotmail.com”

And:

“Sarah B. Weinstein
e-mail: execsecaaimg@hotmail.com”

56. These email addresses serve as the only working contact points for AAIMG, and
are apparently the sole conduit used to administer the AAIMG website and communicate
with the public.

57. “Hotmail” email accounts, attainable at “hotmail.com,” are free, anonymous email
accounts, requiring no verifiable contact or identification information from subscribers,
and can be accessed via the Internet through a web-based (html) interface, using any

computer with a connection to the Internet and an Internet browser program.

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58. ST. MATTHEW ’s investigations have shown that the above email addresses, in
fact, are regularly accessed from anonymous Internet access points‘, from such locations
as Internet cafés, hotels and trade show locations. This practice of randomized and
anonymous Internet access creates the most difficult scenario for tracking and identifying
individuals perpetrating fraud, which is extremely unusual and suspicious behavior for a
supposedly legitimate and altruistic “institution” such as AAIMG claims to be.
59. ST. MATTHEW s investigations have further shown that the same IP addresses
have been used to access both AAIMG email accounts, indicating that one individual
controls and operates both email addresses. In fact, emails sent to one AAIMG address
have received AAIMG responses phrased as though they had been sent from the other
AAIMG address.
60. ‘The Internet domain “aaimg.com” is registered to “AAIMG, 1802 N. Carson Street,
Carson City, Nevada 89701,” which is the address of VAL-U-CORP, AAIMG'’s registered
agen: for service of process. A true and correct copy of the registration information for
the domain “aaimg.com” is attached hereto as Exhibit F.
61. AAIMG's website is purportedly hosted and administered out of St. Petersburg,
Russia; the technical and administrative contact listed for the domain “aaimg.com” is
listed as an individual living in St. Petersburg, Russia, also using a Hotmail account,
making it difficult to impossible to contact or serve the individuals responsible for website
registration and administration. (See Ex. F.)

AAIMG’s Fraudulent Operations
62. The totality of the facts surrounding AAIMG make it abundantly clear to reasonable
peopie that the AAIMG operation is a fraud. As stated above, the website operated at
“aaimg.com” apparently constitutes the only operations of Defendant AAIMG. (See Ex.

C.) AAIMG faisely claims to be a non-profit organization. AAIMG states that its purpose

 

* Use’s at Internet access points at any point in time are identified by Internet Protocol (or IP)
addresses, comprised of a dotted decimal notation (for e.g.: “192.168.1.1”) that uniquely identify
an individual connection to the Internet from any physical access point. In order to view a web
page, like the Hotmail.com email web page, a user must access the Internet from a specific IP
address.

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is “to promote acceptance of United States citizen international medical graduates into
mainstream American medical practice.” (See Ex. C, pg. 2.) However, the only apparent
means by which AAIMG works to achieve this “goal” is the purportedly impartial review of
various international medical schools, in accordance with a list of self-established review
criteria. (See Ex. C, pgs. 6-10.)
63. Even though AAIMG has no apparent source of income or funding, no identified
shareholders, no stated profits or capital, and no identified staff or agents other than
Defendants MOORE and WEINSTEIN, AAIMG claims to have conducted in-depth, on-
site investigations of over 25 medical schools all over the world, originally and primarily
focusing on the Caribbean region. (Ex. C, pg. 4.) ST. MATTHEW ’s experience with U.S.
states’ accreditation procedures has shown that site investigations of the kind purported
by AAIMG are conducted at a cost of over $50,000.00 per site visit.
64. AAIMG, in its own words, claims that these “investigations” include, among many
other criteria, full inspections of laboratory, teaching, research and residential sites, and
the conducting of student and faculty interviews. (See Ex. C, pgs.4-5.) AAIMG makes
the unbelievable and far-fetching assertion that such inspections, which by their nature
require inside access to institutions, are conducted by people “posing as potential
students, or parents of students.” (See Ex. C, pgs.4.) AAIMG has stated that it has
conducted such a thorough investigation of ST. MATTHEW’s, implausibly, without the
knowledge of the ST. MATTHEW ’s or its faculty, either at the time or afterwards. (See Ex.
C, pgs. 15-16.)

AAIMG’s Reputation For Fraudulent Activity
65. ST. MATTHEW ’s also discovered that suspicions regarding the legitimacy of
AAIMG, its website and its “impartial reviews” have been a topic of discussion amongst
the international medical graduate community since AAIMG’s inception. Open, active,
public discussions have for years included accusations and allegations of extortionist
activity on the part of AAIMG, “shaking down” medical schools for cash payments in

exchange for positive reviews or to avoid negative ones, and taking payments from

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schools to post negative reviews regarding their competitors. Such allegations include
those made by the administrators of established, accredited medical! schools in the
Caric¢bean region. True and correct copies of examples of such accusations and
discussions are attached hereto as Exhibit G.
66. Acommon thread of all of these discussions has been calls for the investigation of
AAIMG and its practices, and a public disclosure of the individuals behind it, their
credentials and affiliations.
67. | Upon information and belief, Plaintiff ST. MATTHEW’s alleges that certain of its
competitors in the Caribbean region are responsible, at least in part, for the posting cf
negative reviews of ST. MATTHEW’s on the AAIMG website, either as sponsors, or in
that they are directly involved with the operation and/or administration of the AAIMG
website.

AAIMG’s FALSE STATEMENTS
68.  Asstated above, AAIMG’s website contains numerous and repeated false and
defarnatory statements regarding ST. MATTHEW/’s, all of which ST. MATTHEW’s
vehe nently refutes, as detailed below.
69. Apart from the facially false statements itemized and rebutted below, AAIMG's
evaluation “results” contain an additional layer of deception and misrepresentation. Each
of AAIMG’s items of evaluation criteria actually contain several individual criteria - some
relatively insignificant matters, others significant — but lumped together as one item under
the reported results. AAIMG does not clarify which of the several criteria justify the
“deficient” mark for that category. This deceptive practice allows AAIMG to give the
perception that a school has been cited as deficient in important — and eye catching -
categories, while attempting to maintain deniability by the inclusion of the “filler” criteria. It
is unreasonable to expect that many students and evaluators perusing the AAIMG
website would expend the effort to refer back the pages-long, and separately listed,
criteria index. Even if they did, there would be no way for them to know to which item the
. “deficient” comment was directed.

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70. AAIMG cites ST. MATTHEW ’s as “deficient” in regards to the following “evaluation
criteria” identified on AAIMG’s website (see Ex. C, pgs. 6-10).; ST. MATTHEW ’s refutes
and rebuts these allegations as follows:
71. Under AAIMG's criteria labeled “Section |, Admission/Recruiting Practices,” AAIMG
cites the following categories as “deficient”:

b. Admission criteria for selecting students are clearly defined in the catalog.

The MCAT or a comparable exam should be required. School does not deviate
from stated requirements.

REBUTTAL: ST. MATTHEW ’s admission criteria are clearly defined in the
catalog, and there are no deviations. While ST. MATTHEW 's does not at this point
require applicants to submit MCAT scores, all but one of the Caribbean medical
schools follow ST. MATTHEW'S practice of not requiring such scores, including
schools listed as “meeting or exceeding” AAIMG’s criteria.

c. Pre-Medical Requirements consisting of essential liberal arts and science
courses are listed in the school catalog. No student is admitted with fewer than
90 semester hours of undergraduate education or equivalent credits from
foreign countries.

REBUTTAL: ST. MATTHEW ’s has pre-medical requirements clearly listed in its
catalog, and no student is admitted with fewer than 90 semester hours of
undergraduate education.

d. The application fee is a nominal amount. Students should not be required to
pay additional monies to receive scholarship information, loan applications, or
other types of consideration, or be required to pay a substantial fee to reserve a
seat.

REBUTTAL: ST. MATTHEW ’s application fee is only $75, comparable to all
other medical schools. No other fees or monies are required to receive scholarship
information, loan applications, or other types of consideration. ST. MATTHEW’'s $500

seat deposit is reasonable and in line with other schools, and is nothing more than

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$500 of students’ first semester tuition -- it is not an additional charge.

f. The medical school does not grant advanced placement to physician
assistants, chiropractors, podiatrists, nurse practitioners, or other applicants
with allied health backgrounds.

REBUTTAL: ST. MATTHEW’s has never and will never grant advanced
placement to any of these fields.

h. Entering classes are of a size compatible with facility size and size of the
faculty. There is sufficient classroom space and housing for all incoming
students.

REBUTTAL: ST. MATTHEW’s class sizes are smaller than the three others of
the most respected and largest offshore medical schools, with an excellent
teacher/student ratio. ST. MATTHEW ’s has totally adequate classroom space, with a
teaching facility of over 21,000 square feet, and a university-owned residence hall that
accommodates all of ST. MATTHEW’s incoming students and some of its continuing
students. This allows our incoming students to have time to adjust to the community
and search out long-term housing options. To note, at least one of the “schools
meeting or exceeding the AAIMG criteria” has no housing for students at all, but was
not noted as “deficient” in this regard.

72. Under AAIMG’s criteria labeled “Section II. Basic Science Curriculum,” AAIMG
cites the following categories as “deficient”:
c. Elective courses, including research opportunities, are available to all
students.

REBUTTAL: ST. MATTHEW's offers many choices of electives for the clinical
sciences. Research opportunities are available to all students.

e. Students must be physically present at the basic science campus for the
entire term with the exception of semester breaks or school vacations.

REBUTTAL: ST. MATTHEW ’s students are required to be physically present at

the basic science campus for the entire term. In fact, ST. MATTHEW 's is one of the

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only Caribbean schools to have and uphold an 80% attendance requirement of its
students.

k. The basic science curriculum provides supervised pre-clerkship training with
adequate patient and hospital exposure before students enter third year
clerkships.

REBUTTAL: ST. MATTHEW’s has patient-doctor classes beginning in the first
semester and continuing through the fifth semester. In the fifth semester, students
spend time in hospital and clinical settings for pre-clerkship exposure and training.
Over 20% of the courses in the first five semesters are preclinical courses.

I. Students leaving the basic science division are required to demonstrate
proficiency in a standard set of core clinical skills before admission to
clerkships. Evaluators of the skill base should be qualified physicians.

REBUTTAL: ST. MATTHEW’s students take written exams in the clinical skills
and are evaluated in the classroom/lab/hospital settings by a faculty of qualified
physicians. All ST. MATTHEW’s students must demonstrate their proficiency in these
areas by passing the National Board of Medical Examiners Shelf Exam prior to
engaging in the third and fourth year clinical rotations—the same exam used by U.S.
medical schools. All ST. MATTHEW ’s students must demonstrate their proficiency in
each core area by passing the National Board of Medical Examiners Shelf Exam in
that core rotation -- the same exam used by U.S. medical schools.

73. Under AAIMG’s criteria labeled “Section Ill. Basic Science Campus,” AAIMG cites
the following categories as “deficient”:
a. The medical school campus is physically located in the country that
authorized its listing by the World Health Organization.

REBUTTAL: ST. MATTHEW’'s campus is located and chartered in the Cayman
Islands, which has authorized ST. MATTHEW ’s listing by the World Health
Organization.

b. A permanent, independent campus is present with sufficient classrooms,

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labs, and equipment to meet the needs of the student body.

REBUTTAL: ST. MATTHEW ’s holds a long-term lease on a large, independent,
and free-standing state-of-the-art building as its teaching facility for the basic science
campus. ST. MATTHEW’s owns two modern well-appointed residence halls and has
recently purchased an additional five acres on which to build its own permanent
campus.

c. Minimum lab requirements should include a gross anatomy lab with cadaver
dissection, a microbiology lab, and a separate microscope lab for pathology
and histology. Gross pathological specimens should be available. A physiology
lab experience is highly desirable.

REBUTTAL: ST. MATTHEW ’s has a microbiology lab and a separate lab for
pathology, physiology, and histology. Gross pathological specimens are available.
ST. MATTHEW 's has a gross anatomy lab. Rather than conducting cadaver
dissections, ST. MATTHEW ’s, like almost half of U.S. medical schools, provides
plastinated cadavers in the anatomy class. The use of the plastinated cadavers has
been hailed as the future of anatomy courses.

d. There is a separate medical library area with a book and periodical collection
that meets the minimum standards of a small medical school. Online resources
such as Medline are available to students and faculty free of charge.

REBUTTAL: ST. MATTHEW ’'s has over 4,000 volumes in its medical library,
built around a core Brandon’s Small Medical Library. ST. MATTHEW ’s also has
Medline and numerous other resources available online 24 hours a day for students
from Basic Sciences through Clinical Sciences. It has 59 hard-copy journals and over
three hundred journals available online. Additionally, all students have wireless laptop
computers and have access to hundreds of reference books with search capabilities
as well as medical journals twenty four hours a day, seven days a week whether in
Grand Cayman, the Maine extension campus, or anywhere in the U.S., Canada, or

the U.K.

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e. There are facilities for quiet study time or research available to students.

REBUTTAL: There is available space for 100 students to study in the library at
once. There is also a student lounge and study center, as well as open classrooms
equipped for small group study. Students have access to all library materials as well
as professor syllabi through their wireless laptops in each of these facilities.

f. There is a designated academic dean to supervise the integrity of the basic
Science program.

REBUTTAL: ST. MATTHEW ’s has a full time Chief Academic Officer, a Dean
of Basic Sciences and a Board of Trustees to supervise the integrity of the basic
science program.

i. Grading policies are consistent among all courses and reviewed regularly by
the dean or appropriate committees.

REBUTTAL: ST. MATTHEW/’s grading policies are consistent among all
courses, and at the end of each semester all grades are reviewed by the promotions

committee prior to final assignment.

74. Under AAIMG’s criteria labeled “Section IV. Student Concerns,” AAIMG cites the

| following categories as “deficient”:

b. Sufficient, affordable, housing is available to accommodate the student
and/or family members.

REBUTTAL: Housing !s available for all new incoming students as well as
some ongoing students in the university-owned residence halls for the first semester.
Within the local community, there are many excellent choices for apartments and
homes most certainly sufficient to meet the housing needs for all students in Grand
Cayman.

c. Dormitory accommodations at a reasonable rate are available for students
requesting this type of accommodation.

REBUTTAL: As stated above, residence hall accommodations (dormitories) are

available, and are below the cost of rooms found in the private sector of the island.

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The price includes all utilities, high speed internet access, swimming pool, and has
many forms of food service less than a block away. Each room contains a mini-
kitchen with a microwave and a small refrigerator. Students have the opportunity to
reduce costs by requesting a room mate.

f. A student health clinic and/or local health care resources are readily
available for routine health care needs.

REBUTTAL: There are excellent, state-of-the-art health care resources readily
available for health care services well beyond the routine. Cayman boasts two
beautiful state-of-the-art hospitals and numerous highly-qualified practicing
physicians, most trained in the U.S. or Canada.

g. Emergency medical evacuation services/insurance are offered to students at
a reasonable rate.

REBUTTAL: Health insurance and medical evacuation insurance are not only
offered but required, and offered to students at reasonable rates through Student
Resources, a company that provides student health insurance to thousands of
students in the U.S. and other international schools. This health insurance program
also provides for medical evacuation. The cost is under $89 per month for all
students.

m. Academic and psychological counseling are available free of charge from
qualified staff or faculty members.

REBUTTAL: Academic and psychological counseling are available free of
charge from qualified faculty members. Either or both may be required when a
student develops academic or personal problems. ST. MATTHEW ’s has a Dean of
S:udent Affairs who has a Ph.D. in psychology, as well as professionally trained
support staff.

n. The student attrition rate for all reasons remains low throughout the
curriculum.

REBUTTAL: Student attrition rate for all reasons remains approximately 10

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percent throughout the curriculum, comparable or superior to other schools.

Under AAIMG'’s criteria labeled “Section V. Clinical Training Program,” AAIMG

cites the following categories as “deficient”:

b. There is a designated academic official to supervise the integrity of the
clinical training program.

REBUTTAL: ST. MATTHEW’s employs a Chief Academic Officer (M.D.) and a
Clinical Dean (M.D.) who are experienced teachers with board certification in their
respective fields, with the Dean having prior experience as a director of residency
training. ST. MATTHEW’s also has six Clinical Chiefs, who possess the M.D. and
who hold a board certification in their specialty, all of whom supervise the integrity of
the clinical training program.

d. Evaluation criteria and performance expectations are shared with students
and preceptors prior to the clerkship rotation.

REBUTTAL: A Clinical Handbook is provided to each student at Clinical
Orientation during his/her fifth semester. A complete Clinical Orientation Packet is
provided and the Orientations include the Clinical Dean, Director of Clinical
Development, Director of Clinical Services, Clinical Coordinators and Clinical
Administrative Assistants. During this Orientation all staff members discuss various
aspects and requirements of the Clinical Sciences program. A question and answer
period is always included in the Orientation.

e. Hospital affiliations are listed in the school catalog. Students are not
expected to find their own clerkships.

REBUTTAL: ST. MATTHEW's hospital affiliations are listed on the school
website at www.stmatthews.edu. Students are not expected to find their own
clerkships, and in fact they are not permitted to do so. ST. MATTHEW ’s has a
Director of Clinical Services who supervises and manages all clerkship placements.
f. There is demonstrated continuity between the basic science campus and the

clinical medicine program.

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REBUTTAL: ST. MATTHEW’s has a Chief Academic Officer (“CAO”), who is
responsible for maintaining continuity between the Basic Sciences and Clinical
Sciences. This is achieved through frequent meetings between the CAO, Dean of
Basic Sciences, Basic Science Faculty and the Dean of Clinical Sciences, Clinical
Chiefs, and Preceptors. More formalized meetings occur regularly to ensure
continuity as well.

h. There are sufficient clerkship and staff members to process and track all
students during third and fourth year rotations.

REBUTTAL: ST. MATTHEW ’s presently has approximately 350 students in
clinical rotations. ST. MATTHEW’s has a Clinical Dean (an M.D.), Director of Clinical
Development (an M.S.), Director of Clinical Services (a B.A.), six Clinical Chiefs
(M.D.s), two Clinical Coordinators (B.A.s), and three Clinical Administrative Assistants
to process and track all students during third and fourth year rotations. ST.
MATTHEW 's has had no problems in keeping track of students, exams, or daily logs.
j. There are a sufficient number of hospitals and preceptors in hospitals with a
structured teaching program to meet student needs.

REBUTTAL: ST. MATTHEW /s currently has — and has always had — a surplus
of clerkship slots in teaching hospitals, and has never failed to meet student needs for
clerkships.
|. Full-time qualified medical school administrative staff are available to
monitor the student’s progress on a regular basis.

REBUTTAL: See rebuttal to statement “h,” this section, supra.

m. Hospitals and preceptors are monitored on a regular basis by appointed
staff.

REBUTTAL: See above rebuttals regarding supervisorial staff; these staff
members are charged with monitoring the hospitals and preceptors.

n. Student evaluations are done on a regular basis for each clerkship

experience.

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REBUTTAL: Student evaluation forms are now required to be completed after
each clerkship experience, and therefore mandatory at this time.

Under AAIMG’s criteria labeled “Section VI. Faculty,” AAIMG cites the following

categories as “deficient”:

a. Names educational background and qualifications of faculty are reported in
the school catalog and accurately represent actual on site, fulltime faculty.

REBUTTAL: The names, educational background and qualifications of ST.
MATTHEW ’s faculty are currently reported in the school catalog and accurately
represent actual on-site, fulltime faculty.

b. There is sufficient experienced, full-time, qualified faculty to teach each
course in the curriculum.

REBUTTAL: ST. MATTHEW ’s has an excellent student teacher ratio,
representing more than sufficient faculty. ST. MATTHEW’s has 25 teachers in the
Basic Sciences and 204 clinical preceptors, giving an overall 1:20 student/teacher
ratio in Basic Sciences, and a 1:2 overall student/teacher ratio in the Clinical Sciences
— far better than “sufficient.”

e. Faculty are not expected to cover more than 2 courses or teach out of their
areas of expertise.

REBUTTAL: ST. MATTHEW's faculty members generally teach two or fewer
courses, and only in their area of expertise.

h. Professional development opportunities are available to faculty locally.

REBUTTAL: ST. MATTHEW ’s faculty is fortunate in that many professional
development programs are brought to Grand Cayman due to its desirability as a
tourist location, and many physicians attend conferences locally for continuing
education. Occasionally, ST. MATTHEW’s faculty members both teach and
participate in these continuing education opportunities. Annually, the Harvard
International Program provides a teacher skills laboratory to help the teachers stay on

the cutting edge of the case-based teaching model. Also, the University provides up

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to $2,500 to each faculty member to attend their annual discipline conference in the
U.S. or U.K. Also, each faculty is encouraged to be active in research, and stipends
are available.
i. There are provisions for funding for faculty to attend professional meetings.
REBUTTAL: See rebuttal to statement “h,” this section, supra.
Under AAIMG's criteria labeled “Section VII. Financial,” AAIMG cites the following

categories as “deficient”:

b. Students are provided with a realistic breakdown of cost of living expenses
prior to matriculation.

REBUTTAL: Every student is provided with detailed cost guides and financial
aid information specifically designed to educate them as to the costs of attending ST.
MATTHEW ’s.

e. A detailed description of all financial aid programs is listed in the school
catalog.

REBUTTAL: A detailed description of all financial aid programs is listed in the
school catalog along with information specifically as how to apply, the necessity of a
credit worthy status, the three credit reporting agencies, as well as the
recommendation to follow-up on loan status and ensure that students’ credit is
adequate.

f. Trained personnel are available to provide financial counseling.

REBUTTAL: ST. MATTHEW ’s Director of Financial Aid, Gloria Miranda-Avila,
M.B.A., has fifteen years of experience at educational institutions as either director or
assistant director of financial aid over many student loan programs, including the
federal Stafford loan program. Ms. Miranda-Avila is always available to provide
financial counseling to students, and does so through general emails as well as
weekly online chats with prospective and enrolled students. Ms. Miranda-Avila also
has a trained administrative assistant, to remain available to students and help her

with these duties.

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